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8                             UNITED STATES DISTRICT COURT
9                           SOUTHERN DISTRICT OF CALIFORNIA
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11     Ms. L.; et al.,                                     Case No.: 18cv0428 DMS (MDD)
12                           Petitioners-Plaintiffs,
                                                           ORDER FOLLOWING STATUS
13     v.                                                  CONFERENCE
14     U.S Immigration and Customs
       Enforcement (“ICE”); et al.,
15
                         Respondents-Defendants.
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18           Pursuant to the status conference held on August 10, 2018, the parties shall submit
19     a further Joint Status Report on or before 3:00 p.m. on August 16, 2018. A further
20     telephonic status conference shall be held on August 17, 2018, at 1:00 p.m. The Court
21     will provide a dial in number for all counsel making an appearance. The dial in number
22     for any counsel who wish only to listen in and members of the news media that wish to
23     attend the conference is as follows.
24           1.     Dial the toll free number: 877-411-9748;
25           2.     Enter the Access Code: 6246317 (Participants will be put on hold until the
26                  Court activates the conference call);
27           3.     Enter the Participant Security Code 08170428 and Press # (The security code
28                  will be confirmed);

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                                                                               18cv0428 DMS (MDD)
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1            4.       Once the Security Code is confirmed, participants will be prompted to Press
2                     1 to join the conference or Press 2 to re-enter the Security Code.
3      Members of the general public may attend in person. All persons dialing in to the
4      conference are reminded that Civil Local Rule 83.7(c) prohibits any recording of court
5      proceedings.
6      Dated: August 15, 2018
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